Case: 3:22-cv-00004-GFVT-EBA Doc #: 14 Filed: 04/20/22 Page: 1 of 3 - Page ID#: 135


                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF KENTUCKY
                                   AT FRANKFORT

  KENTUCKY LABORERS DISTRICT COUNCIL                           )
  HEALTH AND WELFARE FUND;                                     )
  KENTUCKY LABORERS JOINT                                      )
  APPRENTICESHIP AND TRAINING TRUST FUND;                      )
  LABORERS NATIONAL PENSION FUND and                           )
  KENTUCKY LABORERS – EMPLOYERS                                )     Case No. 3:22-cv-4 GFVT
  COOPERATION AND EDUCATION TRUST,                             )
                                                               )     (Electronically Filed)
                          Plaintiffs,                          )
                                                               )
  vs.                                                          )
                                                               )
  THE WINTER CONSTRUCTION COMPANY, a                           )
  Georgia corporation,                                         )
                                                               )
                          Defendant.                           )
                                                               )

          MOTION FOR LEAVE TO WITHDRAW APPEARANCE OF COUNSEL

         Pursuant to Local Rule 83.6, the Plaintiffs move to withdraw the appearance of attorney

 Michael S. Vojta as a counsel of record for the Plaintiffs in this case. In support whereof, the

 Plaintiffs state as follows:

     1. The Complaint in this case was filed on January 13, 2022. (Docket No. 1).

     2. On January 13, 2022, an appearance for Attorney Dennis R. Johnson of Johnson & Krol,

         LLC was filed.

     3. Attorney Michael S. Vojta was a Senior Attorney with the law firm of Johnson & Krol,

         LLC and is admitted to bar of the State of Illinois and the Northern District of Illinois.

     4. On February 18, 2022, Attorney Michael S. Vojta was admitted pro hac vice to the Eastern

         District of Kentucky. (Docket No. 8).

     5. The appearance of Attorney Michael S. Vojta was in addition to, and not a substitution for,

         Attorney Dennis R. Johnson.


                                                   1
Case: 3:22-cv-00004-GFVT-EBA Doc #: 14 Filed: 04/20/22 Page: 2 of 3 - Page ID#: 136


    6. Attorney Michael S. Vojta’s last day of employment at Johnson & Krol, LLC is April 21,

        2022.

    7. Attorney Michael S. Vojta will no longer represent the Plaintiffs after that date.

    8. Attorney Dennis R. Johnson of Johnson & Krol, LLC will remain attorney of record and

        lead counsel in this case.

    9. As Attorney Dennis R. Johnson of Johnson & Krol, LLC is remaining as an attorney of

        record in this case, the Plaintiffs ask that written consent not be required.



        WHEREFORE, the Plaintiffs respectfully request that the appearance of attorney Michael

 S. Vojta be withdrawn, and further request all other just and appropriate relief.



                                                       Respectfully Submitted,

                                                       KENTUCKY LABORERS DISTRICT
                                                       COUNCIL HEALTH AND WELFARE
                                                       FUND et al.

                                                       /s/ Michael S. Vojta - 6278647
                                                       One of Plaintiffs’ Attorneys

 Michael S. Vojta
 Johnson & Krol, LLC
 311 South Wacker Drive, Suite 1050
 Chicago, Illinois 60606
 (312)757-5472
 vojta@johnsonkrol.com




                                                  2
Case: 3:22-cv-00004-GFVT-EBA Doc #: 14 Filed: 04/20/22 Page: 3 of 3 - Page ID#: 137


                                 CERTIFICATE OF SERVICE

         I, Michael S. Vojta, certify that on April 20, 2022, I served the foregoing Motion for Leave
 to Withdraw Appearance of Counsel on Counsel for the Defendant via the Court’s CM/ECF
 electronic filing system and Email at the addresses below:

        The Winter Construction Company
        C/O Mr. Ray Haley, Attorney
        220 West Main Street, Suite 1700
        Louisville, KY 40202
        rhaley@fisherphillips.com



                                                      /s/ Michael S. Vojta______________
                                                      Michael S. Vojta (IL ARDC No. 6278647)
                                                      Johnson & Krol, LLC
                                                      311 S. Wacker Dr., Suite 1050
                                                      Chicago, Illinois 60606
                                                      Email: vojta@johnsonkrol.com
                                                      Phone: (312) 757-5472
                                                      Fax: (312) 255-0449




                                                  3
